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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

DONNA CAVE, et al.,                                                                   PLAINTIFFS

EUGENE LEVY, et al.,                                            CONSOLIDATED PLAINTIFFS

THE SATANIC TEMPLE, et al.,                                                       INTERVENORS

v.                                Case No. 4:18-cv-00342-KGB

JOHN THURSTON, Arkansas Secretary
of State, in his official capacity                                                    DEFENDANT

                                              ORDER

       Before the Court is counsel of record for the plaintiffs David A. Niose’s motion to withdraw

as counsel of record (Dkt. No. 73). Mr. Niose moves to be withdrawn as an attorney of record in

this matter pursuant to Local Rule 83.5(f). Mr. Niose stipulates that he is no longer employed with

the American Humanist Association’s Appignani Humanist Legal Center, which is one of the

nonprofit organizations handling this litigation on behalf of plaintiffs (Dkt. No. 73, ¶ 1). Attorneys

Gerry Schulze, Patrick Elliot, and Monica Miller will continue to represent plaintiffs, and Mr.

Niose states that his withdrawal will not prejudice any party in this matter (Id., ¶ 2). Thus, for

good cause shown, the Court grants Mr. Niose’s motion to withdraw as counsel of record. The

Court directs the Clerk to terminate Mr. Niose as counsel of record for plaintiffs.

       It is so ordered, this the 24th day of October 2019.



                                                      Kristine G. Baker
                                                      United States District Judge
